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 8                            UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA                     )     Crim. Case No. 10CR03460-DMS
                                                )
11                     Plaintiff,               )
                                                )
12               v.                             )     ORDER AND JUDGMENT TO
                                                )     DISMISS THE INDICTMENT
13                                              )
   DANIEL ANGULO-JIMENEZ (4),                   )
14 aka: PAISITA,                                )
                 Defendant.                     )
15                                              )
16         Upon application of the United States Attorney, and good cause appearing
17 therefrom,
18
          IT IS HEREBY ORDERED that the indictment in the above-captioned case
19
20 against DANIEL ANGULO-JINENEZ be dismissed without prejudice.
21
           IT IS FURTHER ORDERED that the arrest warrant be recalled in this matter.
22
      DATED: January 20, 2015.
23
24
                                    HONORABLE DANA M. SABRAW
25
                                    United States District Court
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